                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JURYX, LLC,                              )
                                         )
                    Plaintiff,           )
                                         )
      v.                                 )             1:24CV881
                                         )
LAUREN E. KULP, et al,                   )
                                         )
                    Defendants.          )

                                       ORDER

      This matter is before the Court on Defendants Lauren Kulp and Tandem Legal

Solutions, LLC’s unopposed motion for extension of time to respond to the complaint. For

good cause shown, the motion will be allowed.

      IT IS THEREFORE ORDERED that the Motion for Extension of Time

[Doc. #24] is GRANTED, and Defendants shall have up to and including January 6, 2025,

to answer or otherwise respond to the complaint.

      This, the 16th day of December 2024.




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